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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS



IN RE: EPIPEN (EPINEPHRINE INJECTION,
USP) MARKETING, SALES PRACTICES AND                  Case No. 2:17-MD-02785-DDC-TJJ
ANTITRUST LITIGATION                                 (MDL No. 2785)

This Document Relates to Class Cases



                 EXHIBIT LIST TO DEFENDANTS’ MOTION TO
        EXCLUDE THE EXPERT OPINIONS OF PROFESSOR EINER ELHAUGE

Exhibit A – Deposition Transcript Excerpts of Expert Prof. Einer Elhauge, Under Seal

Exhibit B – Deposition Transcript Excerpts of Humana, Inc., 30(b)(6) Witness Bethanie Stein,

Under Seal

Exhibit C – E-mail from R. Hudson dated May 14, 2019

Exhibit D – MYEP00180922, Under Seal

Exhibit E – February 15, 2019 Letter from Counsel for Mylan Defendants, Under Seal

Exhibit F – February 22, 2019 Letter from Counsel for Plaintiffs, Under Seal

Exhibit G – March 5, 2019 Letter from Counsel for Mylan Defendants

Exhibit H – Deposition Transcript Excerpts of Sanofi 30(b)(1) Witness Sandy Loreaux, Under

Seal

Exhibit I – Deposition Transcript Excerpts of Sanofi 30(b)(1) Witness Patrick Barry, Under Seal

Exhibit J – Deposition Transcript Excerpts of MedImpact 30(b)(6) Witness James Ayers, Under

Seal

Exhibit K – Declaration of Dr. John H. Johnson, IV in Support of Defendants’ Motion to

Exclude the Expert Opinions of Prof. Einer Elhauge, Under Seal
